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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                   No. 20 CR 141
        v.
                                                   Judge Elaine E. Bucklo
 WILLIAM A. HELM


                             JOINT STATUS REPORT

       On March 5, 2020, a Grand Jury returned an indictment charging defendant

with one count of bribery, in violation of 18 U.S.C. § 666. (R. 1, Indictment.) Defendant

pled not guilty on March 10, 2020, and has been on bond. (R. 9, 3/10/20 Minute Order.)

       The parties anticipate that this case will be resolved without a trial, and the

parties request a status hearing on or after August 17, 2020. Defendant agrees to the

exclusion of time until the next hearing to allow the defense to review discovery that

has been provided by the government.

Date: June 19, 2020

       Respectfully submitted,

       JOHN R. LAUSCH, JR.
       United States Attorney

By:    /s Christopher J. Stetler                      /s Timothy M. Grace
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